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FILED

UNITED STATES DIST:
RICT COURT
ALBUQUERQUE, NEW MEXICO

IN THE UNITED STATES DISTRICT COURT OCT 23 2019

FOR THE DISTRICT OF NEW MEXICO . MITCHELL R. ELFERS

CLERK

CRIMINAL NO. [4 - 38274

Count 1: 21 U.S.C. §§ 841(a)(1) and
(b)(1)(B): Possession with Intent to
Distribute 5 Grams and More of
Methamphetamine;

UNITED STATES OF AMERICA,
Plaintiff,
vs.
DESTINEY KAE WILKERSON,

Defendant.
Count 2: 18 U.S.C. §§ 922(¢)(1) and
924: Felon in Possession of a Firearm
and Ammunition;

Count 3: 18 U.S.C. § 924(c): Using and
Carrying a Firearm During and in
Relation to a Drug Trafficking Crime,
and Possessing a Firearm in Furtherance
of Such Crime.

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INFORMATION

 

The United States Attorney charges:
Count 1
On or about November 1, 2018, in Rio Arriba County, in the District of New Mexico, the
defendant, DESTINEY KAE WILKERSON, unlawfully, knowingly, and intentionally
possessed with intent to distribute a controlled substance, and the offense involved 5 grams and
more of methamphetamine.
In violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(B).
Count 2
On or about November 1, 2018, in Rio Arriba County, in the District of New Mexico, the

defendant, DESTINEY KAE WILKERSON, knowing that she had been convicted of at least
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one crime punishable by imprisonment for a term exceeding one year, specifically:

(1) Abandonment or Abuse of a Child, and

(2) Importing a Quantity of Marijuana,
knowingly possessed a firearm and ammunition in and affecting interstate commerce.

In violation of 18 U.S.C. §§ 922(g)(1) and 924

Count 3

On or about November 1, 2018, in Rio Arriba County, in the District of New Mexico, the
defendant, DESTINEY KAE WILKERSON, during and in relation to a drug trafficking crime
for which the defendant may be prosecuted in a court of the United States, specifically,
possession with intent to distribute methamphetamine as charged in Count 1 of this indictment,
knowingly used and carried a firearm, and in furtherance of such crime, possessed said firearm.

In violation of 18 U.S.C. § 924(c)(1)(A)(i).

JOHN C. ANDERSON
United States Attorney

  

 

 

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